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          rN THE uNrrrED srArEs DrsrRrcr couRT FoR                filH
                 SOUTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

SE PROPERTY HOLDINGS,         LLC,       2K


                                         rF


      PLAINTIFF"                         ,I
                                         rl.


VS.                                      'r          CASE NO.
                                         *
UNIFIED RECOVERY GROUP, LLC,             :r
                                               MISC. ACTION 14.8-KD.M
IED, LLC,INTERNATIONAL                   'f
EQUIPMENT DISTRIBUTORS, INC.,           ?I

GREDN AND SONS II, LLC,                 It
CATAHOULA TRADING COMPANY,              'f
LLC, MEMORY C. GREEN,                   *
CECILE G. GREEN, JEFF S. GREEN          *
and J.S. LAWRENCE GREEN,                :t
                                        *
      DEFENDANTS.                       *
                                        *
SYNOVUS   BANK,                         !k

                                        *
      GARNISHEE                         :t<




                              GABNISHEE ANSWER

     AFTER READING THE INSTRUCTION SHEET AND THE PROCESS OF
GARNISHMENT, CHECK THE APPROPRIATE BELOW AND SIGN. KEEP A
COPY FOR YOUR FILES AND MAIL ORIGINAL TO ADDRESS BELOW.

           Obligor is employed and Garnishee will withhold from the salary, wages,
           or compensation, as required, and pay into court.

          Garnishee has in his possession or control property or money belonging to
          the obligor, but earnings are not sufficient to be subject to gamishment.

          Garnishee has in his possession or control property or money belonging to
          the obligor, which is not wages, salary or compensation, namely:
          and is holding same subject to orders of court.

      X   Obligor is not employed - garnishee not indebted to the obligor when
          process was received, or when making this answer, or during intervening
          time, and have not in my possession or control any belongings of the
          obligor; andlor1'
          Other (explain):
   Case 1:14-mc-00008-KD-MU Document 122 Filed 10/06/14 Page 2 of 3



           I
           l./
This   the I     'day of October,2014.


                                               PAGE, SCRANTOM, SPROUSE,
                                               TUCKER & FORD, P.C.

                                               vy,k-
                                                  Travis C. Hargrove
                                                  Alabama State Bar No. HAR283
                                                  Counsel for Garnishee
                                                  Svnovus Bank



Swom to ajd subscribed before me
   the I
this         dav of October.2014.




                                 (Signature)




                     EXPIRES
                   GEORGIA
                  SEPI 26,2018
    Case 1:14-mc-00008-KD-MU Document 122 Filed 10/06/14 Page 3 of 3



                             CPRTIFICATE OF SERVICry

        I do hereby certify that I   am counsel for Gamishee in the above-styled action and

that I have this day served a copy of the above and foregoing GARNISHEE ANSWER by

mailing a copy of same addressed as follows:

                                     Gilbert L. Fontenot
                                        PO Box 1281
                                     Mobile, AL 36633

                                     All Defendants
                                 c/o Gilbert L. Fontenot
                                      PO Box 1281
                                    Mobile, AL 36633
                       (no addresses were listedfor Defendants in
                                      Garnishment)
             I
             I
             I
             (
This   the       day of Octobe\2014.


                                                      Of Counsel for Garnishee
